        Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE NORTHERN DISTRICT OF CALIFORNIA




PROOFPOINT, INC., et al.,

                      Plaintiff(s),                        NO. C - 19 - 4238 MMC

       vs.
                                                           PRETRIAL PREPARATION
                                                           ORDER
VADE SECURE, INC., et al.,

                      Defendant(s).

                                          /

       It is hereby ORDERED pursuant to Federal Rules of Civil Procedure and the Local
Rules of this Court:

JURY TRIAL DATE: Monday, July 26, 2021             at 9:00 a.m., Courtroom 7, 19th floor.

TRIAL LENGTH is estimated to be       8 to 14   days.

DISCOVERY PLAN: Per Federal Rules of Civil Procedure and Local Rules, subject to any
     provisions below.

NON-EXPERT DISCOVERY CUTOFF : December 11, 2020 .

DESIGNATION OF EXPERTS:

       Plaintiff/Defendant: No later than January 11, 2021 .
       Plaintiff/Defendant: Rebuttal no later than February 12, 2021.

       Parties shall conform to Federal Rule of Civil Procedure 26(a)(2).


EXPERT DISCOVERY CUTOFF : March 12, 2021 .
        Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 2 of 7




DISCOVERY MATTERS are referred to a Magistrate Judge and are to be noticed for hearing
before the assigned Magistrate Judge.

DEADLINE TO AMEND PLEADINGS: May 28, 2020.

DAUBERT/DISPOSITIVE MOTIONS shall be filed no later than March 26, 2021 , opposition
    due April 23, 2021; Reply due May 7, 2021; Hearing set for May 28, 2021 at 9:00 a.m..

SETTLEMENT CONFERENCE shall be held before Magistrate Judge Sallie Kim and
     scheduled to take place in mid-February 2020, her calendar permitting.

PRETRIAL CONFERENCE DATE: July 13, 2021 at 10:00 a.m.

      COUNSEL WHO INTEND TO TRY THE CASE MUST ATTEND THE
      PRETRIAL CONFERENCE. Counsel shall be prepared to discuss all aspects
      of the case, including settlement. Pretrial shall conform to the attached
      instructions.

MEET AND CONFER (Civil L.R. 16-10(b)(5): Lead trial counsel shall meet and confer no later
than June 7, 2021 .

FURTHER STATUS CONFERENCE: Friday, March 12, 2021 at 10:30 a.m.

FURTHER STATUS CONFERENCE STATEMENT DUE: Friday, March 5, 2021 .

ADDITIONAL ORDERS:

      Briefing schedule for Plaintiff’s Motion for Preliminary Injunction:
             Opposition due December 6, 2019; Reply due December 20, 2019.
             Hearing set for January 17, 2020 at 9:00 a.m.

      See attached Pretrial Instructions.

PLAINTIFF IS ORDERED TO SERVE A COPY OF THIS ORDER ON ANY PARTY
SUBSEQUENTLY JOINED IN THIS ACTION.


DATED: November 8, 2019
                                                  MAXINE M. CHESNEY
                                                  Senior United States District Judge


(Revised 9/2015)




                                            -2-
         Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 3 of 7




                                  PRETRIAL INSTRUCTIONS

In advance of complying with the following pretrial requirements, for the purpose of preparing
for the Pretrial Conference and to discuss settlement, counsel SHALL meet and confer in good
faith and no later than the meet and confer deadline set forth in the attached order.

        A.     PRETRIAL STATEMENT: No later than ten court days before the scheduled
Pretrial Conference, the parties shall file a joint Pretrial Statement which shall set forth:

       1. The substance of the action;

       2. The relief claimed, including the particular elements of the damages claimed;

       3. The factual issues remaining, as well as any stipulations of fact;

       4. The legal issues, including a concise statement of each disputed point of law
concerning liability or relief and citing supporting statutory and case law;

       5. A current estimate as to the length of the trial;

       6. The status of the case with respect to alternative dispute resolution.

       7. A list of witnesses likely to be called at trial. Expert witnesses shall be listed
separately. Witnesses not included on the list may be excluded from testifying.

       B.      JURY INSTRUCTIONS:

       1.     Joint Set of Agreed Upon Instructions: The parties shall jointly prepare a set of
agreed upon jury instructions, which shall be filed ten court days prior to the Pretrial
Conference.

        2.      Separate Instructions: Separate instructions may be submitted only as to those
instructions upon which the parties cannot agree. Each separate instruction shall note on its face
the identity of the party submitting such instruction. Separate instructions shall be filed ten court
days prior to the Pretrial Conference.

        No later than ten court days prior to the Pretrial Conference, the party or parties
objecting to an instruction shall file a written objection to such instruction. The form of the
objection shall be as follows:

       (a) Set forth in full the instruction to which the objection is made;

        (b) Provide concise argument and citations to authority explaining why the opposing
party's instruction is improper; and




                                                 -3-
         Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 4 of 7




       (c) Set forth in full an alternative instruction, if any.

        3.       Substance and Format of Instructions: The instructions shall cover all substantive
issues. Proposed instructions shall be consecutively numbered. Each proposed instruction shall
be typed in full on a separate page and cover only one subject, to be indicated in the title.
Citations to the authorities upon which the instruction is based shall be included. Instructions
shall be brief, clear, written in plain English and free of argument. Pattern or form instructions
shall be revised to address the particular facts and issues of the case.

       C.      VOIR DIRE AND VERDICT FORMS: No later than ten court days prior to
 the Pretrial Conference each party shall serve and file proposed questions for jury voir dire and
a proposed form of verdict.

        D.      FINDINGS OF FACT and CONCLUSIONS OF LAW: In non-jury cases, no
later than ten court days prior to the Pretrial Conference, each party shall serve and lodge with
the Court proposed findings of fact and conclusions of law on all material issues. Proposed
findings shall be brief, and free of pejorative language and argument. Whenever possible, parties
shall deliver to the Courtroom Deputy copies of proposed findings of fact and conclusions of law
on a CD in WordPerfect format. The disk label shall include the name of the parties, the case
number and a description of the documents.

       E.      EXHIBITS:

        1.      Copies of Exhibits for Other Parties: No later than ten court days prior to the
Pretrial Conference, each party shall provide every other party with one set of all proposed
exhibits, charts, schedules, summaries, diagrams and other similar documentary materials to be
used in its case in chief at trial, together with a complete list (see attached form) of all such
proposed exhibits. Voluminous exhibits shall be reduced by elimination of irrelevant portions or
through the use of summaries. Each item shall be pre-marked with an exhibit sticker (see
attached form), plaintiff's exhibits with numbers, defendant's exhibits with letters or with
numbers sequenced to begin after plaintiff's exhibit numbers. If there are numerous exhibits,
they should be provided in three-ring binders with marked tab separators. All exhibits which
have not been provided as required are subject to exclusion.

       2.       Stipulations Re: Admissibility: Prior to the Pretrial Conference, the parties shall
make a good faith effort to stipulate exhibits into evidence and be prepared to place their
admission on the record at the Pretrial Conference. If stipulation to admission in evidence is not
possible, the parties shall make every effort to stipulate to authenticity and foundation absent a
legitimate (not tactical) objection.

       3.      Copies of Exhibits for the Court: Two sets of exhibits shall be provided to the
Court on the first day of trial. Each set shall be in binders, tabbed and indexed.


       4.      Disposition of Exhibits after Trial: Upon the conclusion of the trial, each party


                                                  -4-
            Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 5 of 7




shall retain its exhibits through the appellate process. It is each party's responsibility to make
arrangements with the Clerk of the Court to file the record on appeal.

       F.       WITNESSES:

        1.      Jury Trials: The Pretrial Conference Statement shall include a list of witnesses
likely to be called at trial, other than solely for impeachment or rebuttal. Expert witnesses shall
be listed separately. Witnesses not included on the list may be excluded from testifying.

        2.      Non-Jury Trials: In non-jury cases, each party shall serve and lodge with the
Court a written narrative statement of the proposed direct testimony of each witness under that
party's control. Each statement shall be marked as an exhibit and shall be in a form suitable to be
received into evidence.

        G.     MOTIONS IN LIMINE: Motions in limine are limited to motions to exclude
specific items of evidence (i.e., specific testimony or exhibits) on a ground and upon such
authority as would be sufficient to sustain an objection to such evidence at trial.

         1. Motions in limine shall be filed and served no later than ten court days prior to the date
set for the Pretrial Conference. Any party opposing such a motion in limine shall file and serve
its opposition papers no later than five court days prior to the Pretrial Conference. No reply
papers will be considered.

        2. Each motion in limine and each opposition thereto, shall be individually numbered and
filed as a separate document.

        H.     LIST OF EXHIBITS WITH STIPULATIONS AND OBJECTIONS: No later
than one court day prior to the Pretrial Conference the parties shall file with the Court a list of all
exhibits admitted by stipulation; and a list of all exhibits as to which objections have been made,
with a brief notation indicating which party objects and for what reason.

       I.       OTHER PRETRIAL MATTERS

        1.     Settlement Conferences - Any party utilizing another form of Alternative Dispute
Resolution who wishes to arrange a settlement conference before a judge or magistrate judge
thereafter may do so by contacting the Courtroom Deputy.

         2.    Daily Transcripts - If transcripts will be requested during or immediately after
trial, arrangements must be made with the court reporter at least one week before trial
commences.


Attachments




                                                 -5-
            Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 6 of 7
                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
CASE NO. C-       MMC                        DATE:

                                          vs

                                      EXHIBIT LIST

    (   ) Plaintiff                                (   ) Defendant

  EXHIBIT                             Sponsoring
  NUMBER          Marked   Admitted   Witness                        DESCRIPTION
                Case 3:19-cv-04238-MMC Document 63 Filed 11/08/19 Page 7 of 7
Case No.                                     Case No.
PLNTF Exhibit No. ________________________   DEFT Exhibit No. _________________________
Date Entered    ________________________     Date Entered    _________________________
Signature      ________________________      Signature       _________________________


Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________
Case No.                                       Case No.
PLNTF Exhibit No. ________________________     DEFT Exhibit No. _________________________
Date Entered    ________________________       Date Entered   _________________________
Signature      ________________________        Signature      _________________________




                                             -7-
